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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 United States of America,                           Case No. 22-cr-322 (SRN/TNL)

               Plaintiff,
                                                                  ORDER
 v.

 Matthew Thomas Onofrio,

               Defendant.


Michael E. Obermueller, Winthrop & Weinstine, P.A., 225 South Sixth Street, Suite
3500, Minneapolis, MN 55402, for MidCountry Bank

Craig R. Baune and Robert M. Lewis, United States Attorney’s Office, 300 South Fourth
Street, Suite 600, Minneapolis, MN 55415, for the Government.

Marsh J. Halberg and Katherine Running, Halberg Criminal Defense, 7900 Xerxes
Avenue South, Suite 1700, Bloomington, MN 55431, for Defendant.


SUSAN RICHARD NELSON, United States District Judge

       This matter is before the Court on the Government’s Motion to Dismiss [Doc. 61]

MidCountry Bank’s Petition [Doc. 55] for a hearing to adjudicate the validity of its alleged

interest in $3,744,410 seized from Defendant Matthew Thomas Onofrio. For the reasons

below, the Court denies the Government’s motion.

I.     Background

       Under federal law, defendants convicted of certain crimes must forfeit to the United

States any property that was used to commit the crime or is a proceed of it. 21 U.S.C.


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§ 853(a)(1)–(2). When a criminal indictment seeks a forfeiture, the court must “promptly

enter a preliminary order of forfeiture . . . . without regard to any third party’s interest in

the property.” Fed. R. Crim. P. 32.2(b)(A). Then the Government “must publish notice of

the order and send notice to any person who reasonably appears to be a potential claimant

with standing to contest the forfeiture.” Fed. R. Crim. P. 32.2(b)(6)(A); see also United

States v. Erpenbeck, 682 F.3d 472, 475–77 (6th Cir. 2012).

       Third parties have 30 days from the time of notice to “petition the court for a hearing

to adjudicate the validity of his alleged interest in the property.” 21 U.S.C. § 853(n)(2).

“If no third party files a timely petition” and “the court finds that the defendant . . . had an

interest in the property that is forfeitable,” the “preliminary order becomes the final order

of forfeiture,” and the United States gets clear title. Fed. R. Crim. P. 32.2(c)(2); 21 U.S.C.

§ 853(n)(7). But if a third party files a petition, the court must conduct an “ancillary

proceeding” that more or less operates as its own civil matter, with civil discovery and

motions practice. Fed. R. Crim. P. 32.2(c)(1). This ancillary proceeding is “the only

avenue by which a third-party claimant may seek to assert an interest in property that has

been included in an indictment alleging that the property is subject to forfeiture.” United

States v. Puig, 419 F.3d 700, 703 (8th Cir. 2005) (citing § 853(k)).

       After Mr. Onofrio defrauded MidCountry and others of millions of dollars,

MidCountry worked with the FBI to investigate. (Doc. 55 ¶ 110.) The investigation led to

an indictment, which alleged three counts of bank fraud, 18 U.S.C. § 1344, and focused on

MidCountry as the victim. (Doc. 1 at 3.) The indictment also sought the forfeiture of more



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than $35 million in Mr. Onofrio’s Premier Bank of Rochester account as proceeds of the

fraud. (Id. at 4.)

       Mr. Onofrio pleaded guilty, and on August 16, 2023, the Court issued a Preliminary

Order of Forfeiture [Doc. 30]. The Preliminary Order stated that it would become final as

to Mr. Onofrio at the time of sentencing and as to third parties “[f]ollowing the Court’s

disposition of all petitions . . . or, if no petitions are filed, following the expiration of the

time period specified within which to file such petitions.” (Doc. 30 ¶¶ 5–6.)

       For at least 30 days starting on August 22, 2023, the Government published notice

of the Preliminary Order on www.forfeiture.gov. (Doc. 31.) But the Government did not

give any direct notice to MidCountry. So, “having apparently not occupied [its] free time

by browsing www.forfeiture.gov,” Erpenbeck, 682 F.3d at 475, MidCountry did not learn

of the Preliminary Order until almost a year later—on August 17, 2024. (Doc. 55 ¶¶ 115–

16.) MidCountry immediately asked the Government to extend the deadline, but on

September 12, the Government declined. (Doc. 50 ¶ 10.) So on October 2, MidCountry

moved the Court for an extension, arguing that the Government failed to give proper notice.

(Doc. 48 at 2.)

       The Government opposed the motion. (Doc. 52.) It did not claim that it gave proper

notice; it just argued that “MidCountry [could] simply file its petition” without

preauthorization because “Onofrio [had] not been sentenced and no Final Order of

Forfeiture [had] been issued.” (Doc. 52 at 1.) In the Government’s view, the proper avenue

to address the timeliness question would be a motion to dismiss the petition once it was

filed. (Id. at 9.)

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         The Court agreed that there was nothing stopping MidCountry from filing a petition,

so the Court denied MidCountry’s motion without prejudice on October 23. (Doc. 54.)

The Court noted that MidCountry could make its notice argument in the ancillary

proceeding if the Government moved to dismiss the petition because “if MidCountry is

correct that the Government failed to provide proper notice under Rule 32.2(b)(6), the

thirty-day clock has not started ticking and the Preliminary Order ‘remains preliminary as

to third parties.’” (Doc. 54 at 5 (quoting Fed. R. Crim. P. 32.2(b)(4)(A)).) Because the

Court did not decide at that point whether the 30-day clock had started, the Court neither

set a deadline nor issued a final order of forfeiture. Similarly, the Government neither told

MidCountry that a petition filed by a future date would be timely nor moved for a final

order.

         MidCountry filed a petition on December 6, and the Government moved to dismiss

it on December 30.        (Docs. 55, 61.)    After oral argument, the Court denied the

Government’s motion from the bench. (Doc. 69.) The Court now explains its reasons for

doing so.

II.      Analysis

         “‘[F]orfeitures are not favored’ in the law,” and “forfeiture statutes are strictly

construed against the government.” United States v. Real Props. Located at 7215 Longboat

Drive, 750 F.3d 968, 974 (8th Cir. 2014) (citations omitted).          The “burden on the

government to adhere to the procedural rules” is heavy, and “strict compliance with the

letter of the law” is required. Id. (quoting United States v. $493,850.00 in U.S. Currency,

518 F.2d 1538, 1547 (11th Cir. 1987)).

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       By statute, the Government can simply “publish notice of [a preliminary] order and

of its intent to dispose of the property” online; it does not need to “provide direct written

notice” unless it wants to do so “as a substitute for published notice as to those persons so

notified.” 21 U.S.C. § 853(n)(1). But to avoid “serious, likely devastating, constitutional

objections,” Federal Rule of Criminal Procedure 32.2 raises the bar. Erpenbeck, 682 F.3d

at 476–77.

       In 2009, Rule 32.2 added several provisions to “codif[y] and restate[] prevailing due

process requirements governing adequate notice.” Id. at 477 (citation omitted). The rule

now mandates direct notice to “any person who reasonably appears to be a potential

claimant with standing to contest the forfeiture.” Fed. R. Crim. P. 32.2(b)(6)(A). It requires

the notice to include three details: a “descri[ption] [of] the forfeited property,” “the times

under the applicable statute when a petition contesting the forfeiture must be filed,” and

“the name and contact information for the government attorney to be served with the

petition.” Fed. R. Crim. P. 32.2(b)(6)(B). And it specifies the means of sending notice,

allowing it to “be sent in accordance with Supplemental Rules G(4)(b)(iii)–(v) of the

Federal Rules of Civil Procedure.” Fed. R. Crim. P. 32.2(b)(6)(D). As relevant here, Rule

G(4)(b)(v) says, “A potential claimant who had actual notice of a forfeiture action may not

oppose or seek relief from forfeiture because of the government’s failure to send the

required notice.”

       The Government does not deny that it failed to give direct notice. It just argues that

MidCountry had actual notice by August 17 and still did not file a petition until 44 days



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after the Court’s October 23 order. (Doc. 62 at 7–10.) In support, the Government relies

on Puig, 419 F.3d at 701–04.

       In Puig, the appellant waited to contest a forfeiture until after the district court

entered the final order, then he moved for relief from the judgment on grounds of excusable

neglect under Federal Rule of Civil Procedure 60(b)(1), arguing that his delay should be

excused for lack of direct notice. 419 F.3d at 701-02. The United States Court of Appeals

for the Eighth Circuit assumed that he was entitled to direct notice but nonetheless held

that his neglect was inexcusable because he did not “alert the court of his claimed right to

the property” by “petition, or any other filing,” until July 7. Id. at 703–04. At that point,

“well over 30 days” had passed since May 13, when he received a letter from the

Government that “specifically told him of his right to file a petition for an ancillary

proceeding.” Id. at 704. And even more time had passed since March 12, when his attorney

first “wrote a letter to the government asserting his rights to the property,” and March 30,

when his attorney received the final order. Id. at 703–04.

       The Court finds Puig distinguishable for three reasons. First, MidCountry does not

request relief from a judgment on grounds of excusable neglect. The Court has yet to enter

a final order of forfeiture. So the basic question is not whether MidCountry has a valid

excuse under Civil Rule 60(b)(1); it is whether the Government provided the notice

required by Criminal Rule 32.2(b)(6). In Puig, the focus was the appellant’s behavior;

here, the Government’s compliance with Rule 32.2 is the focal point.

       Second, the Government never sent a letter—or any communication, for that

matter—notifying MidCountry that it had a right to contest the forfeiture by a future date.

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While the Government conceded that there was nothing stopping MidCountry from

petitioning, it maintained that any petition would be untimely.           In other words, the

Government only notified MidCountry of an expired right, not a ripe one. Unlike the

appellant in Puig, MidCountry had no real opportunity to contest the forfeiture.

       And third, Puig was decided before the 2009 amendment to Rule 32.2. Though the

Puig court assumed that the appellant was entitled to direct notice, it did not have a chance

to grapple with the specific details that Rule 32.2 notice now requires. And though it

applied an actual notice exception, it did so without looking to Rule G(4)(b)(v)—the actual

notice exception that Rule 32.2 now incorporates by reference.

       More apposite is Longboat Drive, where the Eighth Circuit construed

Rule G(4)(b)(v). 750 F.3d at 974–75. There, a district court struck as untimely two

claimants’ challenges to a civil forfeiture. Id. at 969. The Eighth Circuit reversed,

concluding that the clock never started running because the Government failed to directly

notify the claimants. Id. at 974. The Government argued that they had actual notice, as

shown by an email where an attorney told the Government that he “may” be representing

them, but the Eighth Circuit disagreed. Id. Looking to Rule G(4)(b)(v), the court held that

“‘actual notice’ must include, at a minimum, actual knowledge of the deadline to file a

claim”—a “construction [that] avoids constitutional deficiencies.” Id. at 974–75 (citing

Glasgow v. U.S. Drug Enf’t Admin., 12 F.3d 795, 798 (8th Cir. 1993)). Then it found that

the claimants lacked actual notice because the email did not show that they “actually knew

the deadlines to file their claims.” Id. at 975.



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       Here, too, MidCountry lacked actual notice because it never knew of a future

deadline by which it could file a timely claim. True, Longboat Drive dealt with a civil

forfeiture, and the content requirements for criminal forfeiture notices are slightly

different—civil notices need to set “a deadline for filing a claim,” while criminal notices

must “state the times under the applicable statute when a petition contesting the forfeiture

must be filed.” Compare Fed. R. Civ. P., Supp. R. G(4)(b)(ii)(B), with Fed. R. Crim. P.

32.2(b)(6)(B).    But Criminal Rule 32.2(b)(6)(D) expressly incorporates Civil Rule

G(4)(b)(v) and thereby the case law construing it. And in any event, the constitutional

minimum is the same for both civil and criminal forfeitures: “Due process require[s]

that . . . notice be ‘reasonably calculated, under all the circumstances, to apprise interested

parties of the pendency of the action and afford them an opportunity to present their

objections,” Glasgow, 12 F.3d at 798 (quoting Mullane v. Cent. Hanover Bank & Tr. Co.,

339 U.S. 306, 314 (1950)). MidCountry never received notice and an opportunity to

petition; it was only told of a deadline that had passed. This retrospective notice was

inadequate.

       Had the Government—or even the Court—ever told MidCountry that a petition filed

within 30 days would be timely, the Court’s conclusion might be different.                 But

MidCountry never received such notice, so the Court finds that the clock never started

ticking and MidCountry’s petition is timely.

       Two final matters. First, even if MidCountry had actual notice on September 12

(when the Government declined to extend the deadline) or October 23 (when the Court

denied MidCountry’s motion), the Court would find that MidCountry petitioned on time.

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A document is a “petition” if it is “signed . . . under penalty of perjury” and “set[s] forth

the nature and extent of the petitioner’s right, title, or interest in the property, the time and

circumstances of the petitioner’s acquisition of the right, title, or interest in the property,

any additional facts supporting the petitioner’s claim, and the relief sought.” 21 U.S.C.

§ 853(n)(3). On October 2, Steve Meads—MidCountry’s President and Chief Executive

Officer—filed a declaration with these details. (Doc. 49.) This declaration may be treated

as a timely petition, and MidCountry’s December 6 filing may be treated as an amendment.

Cf. Puig, 419 F.3d at 704 (noting the appellant failed to file “a petition, or any other filing

in district court asserting a right to the property” within 30 days of actual notice (emphasis

added)); United States v. Swartz Fam. Tr., 67 F.4th 505, 520 (2d Cir. 2023) (“[I]n limited

circumstances, it may be appropriate to permit the petitioner to amend its petition outside

the 30-day window.”).

       Second, even if MidCountry had actual notice when it discovered the Preliminary

Order on August 17, the Court would equitably toll the deadline to October 12—30 days

after the Government declined MidCountry’s extension request. “The 30-day deadline is

strict but not always fatal. It is intended to promote finality for the Government because

‘if no third party files a petition within the prescribed time (or no petitioner prevails), the

Government emerges with clear title to the forfeited property.’” Id. at 519 (cleaned up)

(citation omitted). Equitable tolling would not undermine this purpose. The Government

would still lack clear title even if the ancillary proceeding were closed because the




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Preliminary Order will not be final as to Mr. Onofrio until he is sentenced. (Doc. 30 ¶ 5.) 1

Finally, the Court does not believe that MidCountry should be penalized for the delay from

asking the Government for an extension. The Court does not wish to discourage parties

from resolving timing issues on their own.

III.     Order

         Based upon the foregoing, and all the files, record, and proceedings herein, IT IS

HEREBY ORDERED that:

         1. The Government’s Motion to Dismiss [Doc. 61] is DENIED; and

         2. The parties shall meet and confer on a schedule for the ancillary proceedings and

             report to the Court promptly.



Dated: February 11, 2025                                                 s/ Susan Richard Nelson
                                                                         SUSAN RICHARD NELSON
                                                                         United States District Judge




         1
           Rule 32.2(b)(4)(A) says that a “preliminary forfeiture order” may “become[] final as to the defendant”
before sentencing “if the defendant consents.” And in his plea agreement, Mr. Onofrio “agree[d] to forfeit” the Premier
Bank account funds. (Doc. 27 ¶ 12.) But the Government did not move the Court for a final forfeiture order as to Mr.
Onofrio after he pleaded guilty. Rather, it filed a proposed order—which the Court adopted—stating that the
Preliminary Order would “become final as to the defendant at the time of sentencing.” (Doc. 29 ¶ 5; Doc. 30 ¶ 5.)
And it has maintained throughout the proceedings that “no Final Order of Forfeiture has been issued.” (Doc. 52 at 1.)

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